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     Attorneys for Plaintiff
11   UNITED STATES OF AMERICA

12                            UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                No. CR 14-712-SJO

15              Plaintiff,                    DECLARATION OF RANEE A.
                                              KATZENSTEIN RE WAIVER OF PRESENCE
16                    v.                      AT HEARING ON RESTITUTION BY
                                              DEFENDANTS GILLIS AND WISHNER
17   JOEL BARRY GILLIS, and
     EDWARD WISHNER,                          Hearing Date: Feb. 1, 2016
18                                            Hearing Time: 10:00 a.m.
                Defendants.                   Location:     Courtroom of the
19                                                          Hon. S. James Otero

20

21         Plaintiff United States of America, by and through its counsel
22   of record, the United States Attorney for the Central District of
23   California and Assistant United States Attorneys Ranee A. Katzenstein
24   and Paul G. Stern, hereby files the declaration of Ranee A.
25   Katzenstein regarding the waiver of presence at the hearing on
26   ///
27   ///
28   ///
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 1   restitution by defendants Joel Barry Gillis and Edward Wishner.

 2

 3   Dated: Jan. 25, 2016                 Respectfully submitted,

 4                                        EILEEN M. DECKER
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 5
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 8                                              /s/Ranee A.Katzenstein
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11                                        UNITED STATES OF AMERICA

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